       Case 3:21-cv-07085-SI Document 31 Filed 03/30/22 Page 1 of 3




 1     CENTER FOR DISABILITY ACCESS
       Zachary Best, Esq., SBN 166035 Prathima Reddy
 2     Price, Esq., SBN 321378
       Aaina Duggal, Esq., SBN 333681
 3
       100 Pine St., Ste 1250
 4     San Francisco, CA 94111
       858)375-7385; Fax (888)422-5191
 5     AainaD@potterhandy.com
 6
       Attorneys for Plaintiff
 7
                               UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9
10
11     Andres Gomez,                                   Case No. 3:21-cv-07085-SI

12                     Plaintiff,
          v.                                           DECLARATION OF AAINA
13                                                     DUGGAL IN RESPONSE TO THE
       Paulo Corro dba Corro Ramirez;                  ORDER TO SHOW CAUSE
14
       Arturo Ramirez dba Corro Ramirez; and
15     Does 1-10,
                                                       Hon. Susan Illston
16                     Defendants.

17
18        1. I, Aaina Duggal, am an attorney of record for Plaintiff and admitted to practice
19             law in all courts in the State of California including the district court in which
20             this matter is being heard.
21        2. I am familiar with this matter and I could competently testify to the following
22             statements.
23        3. On September 13, 2021, Plaintiff filed this action against Defendants, alleging
24             violations of the Americans with Disabilities Act and the Unruh Civil Rights Act.
25             (ECF-1).
26        4. On January 10, 2022, through my assistant, I reached out to Defense Counsel to
27             schedule a Joint Site Inspection. Her email provided the following:
28




                                                  1

     Response to Order to Show Cause                                         3:21-cv-07085-SI
       Case 3:21-cv-07085-SI Document 31 Filed 03/30/22 Page 2 of 3




 1           “The language of Paragraph 7(b) of GO56 specifically contemplates the
 2           inspection of websites ("The parties shall inspect together the portions or
 3           aspects of the subject premises, transportation service, examination, course,
 4           program, service, activity, website, mobile software application, or other
 5           technology that are claimed to violate the Americans with Disabilities Act").
 6
 7           However, Paragraph 7(c) notes that "if the parties agree that plaintiff alleges
 8           only violations unrelated to a physical location (such as programmatic or
 9           policy violations), or if the parties already have reached an agreement
10           resolving claims for injunctive relief and all other material terms, conditioned
11           only on resolution of claims for damages, attorneys' fees, and costs, the parties
12           may proceed directly to the required settlement meeting described in
13           Paragraph 8 of this Order, in which case the settlement meeting shall be
14           scheduled within 60 days after service of the Complaint."
15
16           It seems the "structure" of a website is also factually related to "policy" (given
17           the fairly fluid nature of changing a website in contrast to a physical structure).
18           So based on the language of GO56's Paragraph 7, if we can agree/stipulate
19           that this is a policy violation unrelated to a physical location, then we can
20           forego the JSI.
21
22           In the event that we do agree a JSI is not necessary, then can we also agree that
23           Initial Disclosures, usually due 7 days before JSI, will be due 7 days before the
24           scheduled GO56 settlement meet and confer (the next step)?”
25           A follow up email was sent on January 17, 2022.
26       5. On January 19, 2022, Defense Counsel responded, agreeing that a Joint Site
27          Inspection requirement did not apply, and therefore, the parties agreed to waive
28          the Joint Site Inspection in accordance with Paragraph 7(c) of General Order 56.




                                               2

     Response to Order to Show Cause                                       3:21-cv-07085-SI
        Case 3:21-cv-07085-SI Document 31 Filed 03/30/22 Page 3 of 3




 1         6. On January 21, 2022. Defendants filed their answer (Dkt. 25).
 2         7. By March 9, 2022, the parties exchanged initial disclosures.
 3         8. On March 18, 2022, Plaintiff filed the Joint Case Management Statement (Dkt.
 4             26).
 5         9. On March 24, 2022, the Court ordered Plaintiff to show cause in writing no later
 6             than March 30, 2022, whether the joint site inspection has occurred (Dkt. 28).
 7         10. This is in response to the court’s order (Dkt. 28) to show cause in writing no later
 8             than March 30, 2022, whether the joint site inspection has occurred.
 9
10   I declare under penalty of perjury under the laws of the State of California that the above
11   is true and correct.
12
13
14   Dated: March 30, 2022                         CENTER FOR DISABILITY ACCESS
15
16                                                 By: /s/ Aaina Duggal
                                                   Aaina Duggal, Esq.
17                                                 Attorney for Plaintiff
18
19
20
21
22
23
24
25
26
27
28




                                                   3

     Response to Order to Show Cause                                          3:21-cv-07085-SI
